              Case 3:18-cr-00757-BRM  Document
                                  UNITED STATES21 DISTRICT
                                                   Filed 07/13/18
                                                             COURTPage 1 of 1 PageID: 214
                                                         DISTRICT OF NEW JERSEY

                                             MAGISTRATE'S COURTROOM MINUTES

UNITED STATES OF AMERICA                                             MAGISTRATE JUDGE:      Cathy. L. Waldor

                                                                     MAGISTRATE NO.:           18-7094
                    V.
                                                                     DATE OF PROCEEDINGS:      7/13/18
Steven B. Mell
                                                                     DATE OF ARREST: -~5~/9~/=18~----



PROCEEDINGS:                    Bail Violation

(  ) COMPLAINT                                                       ( ) TEMPORARY COMMITMENT
(  ) ADVISED OF RIGHTS                                               ( ) CONSENT TO DETENTION WITH RIGHT TO MAKE A
(  ) W AIYER OF COUNSEL                                                  BAIL APPLICATION AT A LATER TIME
(  ) APPT. OF COUNSEL: _ AFPD        CJA                             ( ) BAIL DENIED - DEFENDANT REMANDED TO CUSTODY
(  )WAIVEROFHRG.:           PRELIM    REMOVAL                        ( ) BAIL ~Cp"' /,n w.-A
(  ) CONSENT TO MAGISTRATE'S JURISDICTION                                  r)   UNSECURED BOND
(  ) PLEA ENTERED:       GUILTY     NOT GUILTY                              ( ) SURETY BOND SECURED BY CASH I PROPERTY
(  ) PLEA AGREEMENT                                                  ( )TRAVELRESTRICTED - - - - - - - - - - -
(  ) RULE 11 FORM                                                    ( ) REPORT TO PRETRIAL SERVICES
(  ) ~ANCIAL AFFID_A,VIT EXEC(JTED                                   ( ) DRUG TESTING AND/OR TREATMENT
(.-1'OTHER          if   Bt+ lt
                         o lA:b Oil                   4'.,da:Sfld    ( ) MENTAL HEALTH TESTING AND/OR TREATMENT
                                                                     ( ) SURRENDER &/OR OBTAIN NOP AS SPORT
                                                                     ( ) SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                         ADDITIONAL CONDITIONS

HEARING(S) SET FOR:

(   ) PRELIMINARY I REMOVAL HRG.                                       DATE:   --------------
(   ) DETENTION/ BAIL HRG.                                             DATE:   --------------
(   ) TRIAL: _ COURT        JURY                                       DATE:   --------------
(   ) SENTENCING                                                       DATE:   --------------
(   ) OTHER: - - - - - - - - - - - - - -                               DATE:   --------------




APPEARANCES:

AUSA _ _ _ _ _D_._W_a~ls_m~an_ _ _ _ _ _ _ __

DEFT. COUNSEL _ _R~o~b~e~rt=B=ia=nc=h=i_ _ _ _ _ _ _ __

PROBATION--------------

INTERPRETER - - ~ N ~ A - = - - - - - - - -
        1.  Language: ( NA


Time Commenced: _ ___;c_2_'._O_S'-+e_M          _ __
Time Terminated: _ _l~'·"""'l....~....f'I'-'-.,....._._ __
CD No:                 ECR


                                                                                         DEPUTY CLERK
